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                       UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF COLUMBIA


FAIRHOLME FUNDS, INC., et al.,

                       Plaintiffs,                   Case No. 1:13-cv-1053-RCL

    v.

THE FEDERAL HOUSING FINANCE
AGENCY, et al.,

                       Defendants.


ARROWOOD INDEMNITY CO., et al.,

                       Plaintiffs,

    v.
                                                     Case No. 1:13-cv-1439-RCL
FEDERAL NATIONAL MORTGAGE
ASSOCIATION, et al.,

                       Defendants.



               PLAINTIFFS’ SURREPLY TO FHFA’S MOTION TO DISMISS

         Plaintiffs agree with and adopt the arguments advanced in the Class Plaintiffs’ Proposed

Surreply. 1 Contrary to arguments FHFA advances for the first time in its reply brief, the

Fairholme and Arrowood Plaintiffs’ breach of contract claims are ripe.

         The D.C. Circuit held that the contract claims of the Fairholme and Arrowood Plaintiffs

are ripe (as are Class Plaintiffs’ claims) under the anticipatory breach doctrine because Plaintiffs

alleged that the nullification of their contractual rights “immediately harmed them by


1
 Class Plaintiffs’ Proposed Surreply, In re Fannie Mae/Freddie Mac Senior Preferred Stock
Purchase Agreement Class Action Litigations, No. 13-1288 (Apr. 5, 2018), Doc. 78-1.


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diminishing the value of their shares.” Perry Capital LLC v. Mnuchin, 864 F.3d 591, 616, 632

(D.C. Cir. 2017). 2 Like the Class Plaintiffs’ Amended Complaint, the Fairholme and Arrowood

Plaintiffs’ Amended Complaints are replete with such allegations. See, e.g.,

       •   “If valid, the Net Worth Sweep expropriates the value of Fairholme’s preferred stock

           by eliminating any prospect of a return of principal (i.e., the liquidation preference) or

           any return on its principal (i.e., in the form of dividends).” Am. Compl. for

           Declaratory & Inj. Relief & Damages ¶ 5 (Feb. 1, 2018), Fairholme Funds, Inc. v.

           FHFA, No. 13-1053, Doc. 75 (“Fairholme Am. Compl.”).

       •   “Wiping out the Companies’ private shareholders was among the Net Worth Sweep’s

           contemplated purposes.” Fairholme Am. Compl. ¶ 76; First Am. Compl. for

           Declaratory & Injunctive Relief & Damages ¶ 71, Arrowood Indemnity Co. v. FNMA,

           No. 13-1439 (Nov. 9, 2017), Doc. 73-1 (“Arrowood Am. Compl.”).

       •   “[B]ecause of the Net Worth Sweep, the Companies are required to operate at the

           edge of insolvency, with no prospect of ever generating value for private shareholders

           . . . .” Fairholme Am. Compl. ¶ 107; Arrowood Am. Compl. ¶ 99.




2
  FHFA acknowledges that the D.C. Circuit held that the Class Plaintiffs’ contract claims were
ripe, but incorrectly states that “[t]he D.C. Circuit did not consider whether Fairholme’s and
Arrowood’s contract claims were ripe . . . .” FHFA Reply Mem. in Supp. of Mot. to Dismiss Am.
Compls., Fairholme Funds, Inc. v. FHFA, No. 13-1053, Doc. 78; Arrowood Indemnity Co. v.
FNMA, No. 13-1439, Doc. 86 at 9 (Mar. 23, 2018). When the D.C. Circuit held that the
Fairholme and Arrowood Plaintiffs’ contract claims were preserved, the court stated,
“subsequent references to the class plaintiffs are also applicable to the Arrowood and Fairholme
plaintiffs insofar as they concern claims for breach of contract and breach of the implied
covenant of good faith and fair dealing.” Perry Capital LLC, 864 F.3d at 617. Thus, the
subsequent references in the D.C. Circuit Opinion finding the Class Plaintiffs’ contract claims
ripe, id. at 632, “are also applicable to the Arrowood and Fairholme plaintiffs.” Id at 617.

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       •   “The dramatically negative impact of the Net Worth Sweep on the Companies’

           private shareholders is demonstrated by Fannie’s results in the first quarter of 2013.”

           Fairholme Am. Compl. ¶ 108; Arrowood Am. Compl. ¶ 100.

       •   “FHFA has expropriated the Companies’ entire net worth for the benefit of the

           federal government, to the detriment of private shareholders such as Plaintiffs.”

           Fairholme Am. Compl. ¶ 113.

       •   “FHFA has seized the Companies’ entire net worth for the benefit of the federal

           government, to the detriment of private shareholders such as Plaintiffs.” Arrowood

           Am. Compl. ¶ 105.

Date: April 13, 2018                                 Respectfully submitted,


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